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AO 245B (Rev 12/03HVAED rev. 2)Sheet 1• Judgment in aCriminal Case



                                         UNITED STATES DISTRICT COURT
                                                   Eastern District of Virginia
                                                          Richmond Division

UNITED STATES OF AMERICA
                    V.                                               Case Number:       3:i:iCR00178-007
                                                                     USM Number:        12900-062
MARIA CRISTINA PALOS
Defendant                                                            Defendant's Attorney:
                                                                         AMY AUSTIN, ESQ.


                                              JUDGMENT IN A CRIMINAL CASE

The defendant pleaded guilty to Count(s) 5 of the Superseding Indictment.
The defendant is adjudicated guiltyof these offenses.
Title and Section               Nature of Offense                                  Offense Class Offense Ended          Count
18 U.S.C. 1028(0                       CONSPIRACY TO POSSESS,                      Felony             10/30/2013        5
                                       PRODUCE AND TRANSFER FALSE
                                       IDENTIFICATION DOCUMENTS


On motion of the United States, the Court has dismissed the original Indictment and Count 1 of the Superseding
Indictment.

    The defendant is sentenced as provided in pages 2 through 6 of this Judgment. The sentence is imposed
pursuant to the Sentencing Reform Act of 1984.

     It is ordered that the defendant shall notify the United States Attorney for this district within 30 day; of any
change ofname, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by
this judgment are fully paid. Ifordered to pay restitution, the defendant must notify the court and United States
 Attorney of material changes in economic circumstances.

                                                                     08/12/2014
                                                                     Date of Imposition of Judgment




                                                                                            /S/
                                                                              James R. Spencer
                                                                              Senior U. S. DisinV




                                                                     08/12/2014
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